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                    IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF COLUMBIA

                                                      )
STANDING ROCK SIOUX TRIBE,                            )
                                                      )
       Plaintiff,                                     )
                                                      )
and                                                   )
                                                      )
CHEYENNE RIVER SIOUX TRIBE,                           )
                                                      )
       Plaintiff-Intervenor,                          )
                                                      )
v.                                                    )       Case No. 1:16-cv-01534 (JEB)
                                                      )        (consolidated with Cases No.
UNITED STATES ARMY CORPS OF                           )      1:16-cv-01796 & 1:17-cv-00267)
ENGINEERS,                                            )
                                                      )
       Defendant,                                     )
                                                      )
and                                                   )
                                                      )
DAKOTA ACCESS, LLC,                                   )
                                                      )
       Defendant-Intervenor.                          )
                                                      )

         UNITED STATES ARMY CORPS OF ENGINEERS’ STATUS REPORT

       On April 26, 2021, this Court ordered the Corps to “file a Status Report that gives [1] its

latest estimate for the completion of the ongoing EIS and [2] its position, if it has one, on

whether an injunction should issue.” The Corps respectfully responds as follows:

       1.       The Corps estimates that the Environmental Impact Statement (EIS) will be

completed in March of 2022. The Corps expects to use that timeframe to fulfill its commitment

to undertaking an open, transparent, and public EIS process which rigorously explores and

objectively evaluates reasonable alternatives. Further, the Corps is committed to robust tribal

consultations and to actively engaging with the cooperating agencies, which include several


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Plaintiff Tribes, to produce a thorough and comprehensive EIS.

       2.      In response to the Court’s second question, on November 20, 2020, the Corps

filed an opposition to Plaintiffs’ request for an injunction on the basis that Plaintiffs have not met

the applicable standard as set forth in Monsanto Co. v. Geerston Seed Farms, 561 U.S. 139

(2010). ECF No. 573. As represented by the undersigned counsel at the April 9 status

conference, the injunction motion is fully briefed. Tr. of April 9, 2021 hearing at 15:9-14. This

question now rests in the “sound discretion” of the Court. Winter v. Natural Res. Def. Council,

Inc., 555 U.S. 7, 24 (2008).

       3.      As to whether an injunction should issue, the EIS process in which the Corps is

currently engaged examines many factors including some that may be relevant to the permanent

injunction standard. It is possible that in the EIS process the Corps would find new information,

but to date the Corps is not aware of information that would cause it to evaluate the injunction

factors differently than in its previous filing. ECF No. 573 (citing Monsanto Co. v. Geerston

Seed Farms, 561 U.S. 139 (2010)).




Date: May 3, 2021                                      Respectfully submitted,

                                                       JEAN E. WILLIAMS
                                                       Acting Assistant Attorney General
                                                       United States Department of Justice
                                                       Environment & Natural Resources Division

                                                       By: /s/ Reuben S. Schifman
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                                                    U.S. Army Corps of Engineers
                                                    Office of Chief Counsel
                                                    Washington, DC


                                CERTIFICATE OF SERVICE

I, Reuben Schifman, hereby certify that on May 3, 2021, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, and copies will be sent electronically to the
registered participants as identified in the Notice of Electronic Filing.




               By: /s/ Reuben S. Schifman
               REUBEN SCHIFMAN




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